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  FULL~AME

  C~~~~i~~~~~.~~LL~z ~1~
  COMMITTED NAME (if different)                                                  FILED
                                                                      CLERK, U.S. DfSTRICTCOURT

  FULL ADDRESS INCLUDMG NAME OF INSTITUTION

                                                                             APR 3 02021
                                                                    CENTRAL DISTRI    OF CALIFORNIA
  PRISON MIMBER (if applicable)
                                                                    8Y
                                                                                            DEPUTY


                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA                                       R~1 a~-e.d ~c~
                                                                   CASE NUMBER n:
                                                                                 G
                                                                                      2~ ~,, 3~ 2,6 ~ v~-1'"~~
               ( ]    ~ ~~,                                                                 To be supplied by the Clerk
     ~~~~-~~~~~~1~~~ ~-1~,~ PLAINTIFF,

                                   `''                                  CNIL RIGHTS COMPLAINT
                              ' ~1     r                                    PURSUANT TO (Check one)
   C~..~~~~~~~               ~~! 1 C([ Q i1 . ~lll, rJ        ❑ 42 U.S.C. 1983
                                              j DEFENDANT(S).             §
                                                              ❑ Bivens v. Six Unknown Agents 403 U.S. 388(]971)

A. PREVIOUS LAWSUITS

     1. Have you brought any other lawsuits in a federal court while a prisoner: I~'~'es        ❑ No

     2. If your answer to "1." is yes, how many?         f~ il€~

          Describe the lawsuit in the space below. (Ifthere is more than one lawsuit, describe the additional lawsuits on an
          attached piece of paper using the same outline.)

               ~                  ~.



                                                                                     ~"`~                                  f~
          ~~~~,



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          a. Parties to this previous lawsuit:
             Plaintiff          ~.h.~~95-'t-~~~~+~N'


               Defendants               ~/~~          ~    ~ ~ ~- ~'           ~


          L7


          c    Docket or case number      ~-'~~"' e v ~- D`~ ~9g5"-~ ~ W-~ ~~
          d. Name ofjudge to whom case was assigned ~~"~`5 ~• ~~f41 ~n'~~ ~
          e. Disposition (For example: Was the case dismissed? If so, what was the basis fox dismissal? Was it
               appealed? Is it still pending?)   ~,1 S,~Y~ f Ss,t_~ ~ ~t~~rrrii~`~ ~'~ ti
         f. Issues raised:      p~~' bef~~~e ~~.da~e~e~


         g. Approximate date offiling lawsuit:             ~~~ ~~~, ~
         h. Approximate date of disposition           ~~ 1!. ~ ~c              Z--~~                , „_


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

     1. Is there a grievance pro dare available at the institution where the events relating to your current complaint
        occurred? ❑Yes ~o

    2. Have you filed a grievance concerning the facts relating to your current complaint? ❑Yes                C3'No

         If your answer is no, explain why not                  ,~l~




    3. Is the grievance procedure completed? ❑Yes           C~'No

         If your answer is no, explain why not            s~%~f"



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff          ~ 0. TO               ~~~1~ ti~,
                                                                                            plaintiffs name)

    who presently resides at                           ~C~~~Uh~~Q U~:
                                                                          or

    were violated by the actions ofthe defendants) named below, which actions were directed against plaintiff at




                                                   CIVIL RIGHTS COMPLAIlVT
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     on (date or dates) ~/ ~~7~Z~ 1
                                         aim I             ~          aim            ~             aim II

     NOTE:       You need not name more than one defendant or allege more than one claim. If you are naming more than
                 five (5) defendants, make a copy ofthis page to provide the information for additional defendants.

     l. Defendant ~~U~-~~Y "` ~ i` ~a ~ ~                                                               resides or works at
                            name o trst e en ant


                    (full address of first defendant)
                                 v {, %,~J .
                    ( e endant's position an tit e, i any)


         The defendant is sued in his/her(Check one or both): ❑individual           official capacity.

         Explain how this defendant was acting under color of law:

                                                                                                                                   ~~
         -~C~i ,~~2/t5      ,`ti J f4.r-~.i       ~'~~G% (~9'l-~~.~C~ ~~                 ~1~':

    2. Defendant                                                                                     resides or works at
                           name o first e en ant


                    (full address of first defendant)


                         e en ant's posrt~on an tit e, ~ any)


         The defendant is sued in his/her(Check one or both): ❑individual         ❑official capacity.

        Explain how this defendant was acting under color of law:




    3. Defendant                                                                                     resides or works at
                   (full name o ~rst de endant)


                   (full address of first defendant)


                   (de endant's position and title, i any)


        The defendant is sued in his/her(Check one or both): ❑individual          ❑official capacity.

        Explain how this defendant was acting under color of law:




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     4. Defendant                                                                                  resides or works at
                          name o first e en ant)


                    (full address of first defendant)


                    ( e en ant's posrt~on an tit e, i any


         The defendant is sued in his/her(Check one or both): ❑individual        ❑official capacity.

         Explain how this defendant was acting under color of law:




    5. Defendant                                                                                   resides or works at
                    (full name of first defendant)


                    (full address of first defendant)


                    ( e en ant's position an tit e, i any)


         The defendant is sued in his/her(Check one or both): ❑individual        ❑official capacity.

         Explain how this defendant was acting under color of law:




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D. CLAIMS*
                                                              CLAIM I
     The followin civil right has been violated:
           a~           t       ~l~         ~'       /I~I~J~ri~                    TicP   Q.1    E°~}hr!i      /      c~,
                                                                                                                        'CC~l —




                                   ti~'~O                                                                          Y' /`S




     Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
     citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
     DEFENDANT(by name)did to violate your right.
      ~(Ci~.~l-t1 ~'~" ~~ r^Y'~~ U~ Pf:f         a~,~- ~~~Sf Y-~-   U Gt ~l~ v ~~ ~►tf~t 1 -f71►r 7 f~G~C ~         ~' C




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    *If there is more than one claim, describe the additional claims) on another attachedpiece ofpaper using the same
    outline.


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                                              USP Vctorvilie VIP
  Patient:       1MWAMS,CHRISTOPHER (Male)                                              DOB:           07/24/79
  Register#:     35731-177                                                              fie:           4{l
 Date:           12J45/1910:45                                                          Status:        OP
 Slicecount:     0
 History:        PAl11~SWELtMG S/P FAI.~ X i WK
 Priors:
 Exams:          FlI.M LEFT TIB/FIB
 Referring Phyr.
 Ordering Phy: Comes-Reyes. A FNP-BC
 Ordering Phy #:
 Accession Plumbers_ 202#~OP00137~D41

                                                    Final Report

 Exarrr FlLM LEFT TIBIFIB

 HISTORY:Injury one week aga

TECHMiQUE:2 views obtained

COMPARI50N:No prior imaging available

FlNDINGS: There is a comrinuted minimally dispEaced fracture throi►gh the mid to distal shaft of
                                                                                                  the
leh ~buia. There is circumfererrtiat subcutaneous edema. There Is no joirrt space abnomia
                                                                                          iity. Bone
mineralization is normal for age.

IMPRESSION:
Acute comminuted minimally mainly displaced fracture at the mid to distal shaff of the 1~#t
                                                                                                       fibula.
Radiologist:                    A?aurice Yu, ND
Study ready at 10:45 and initial results transmitted at 10:56




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                                                                               ~~
                                                                            ~~
                                                                              ~~




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                                                                          fy




                                           s a raLeading Teleradiology


                                            USP ~ctorville VIP
Patient:        1M~LIAMS, CHRISTOPHER (Male)                              DOB:
Register#:      35731-'177                                                A,ge:           40
Date:           02J13120 10:47                                            Status:         OP
Slicecount:     0
History:        ~/U FX
Priors:
Exams:          FILM L~F7 TIB/FIB
Referring Phy:
Ordering Phy: Mank, tvtichael b0
Ordering Phy #:
Accession Numbers:202#BOP00157448

                                                   Final Report


Exam FILM DEFT TIBlFIB

HISTORY: Follow-up

TECHNICIUE:3 views obtained

COMPARISON:December 5, 2019

FINDINGS: There is nonunion of the nondisplaced comrinuted fracture at the mid to distal left fibular
diaphysis. There is subcutaneous edema above the left ankle and befowthe left calf. There is no new
osseous abnormality.

IMPRESSION:
Nonunion of the nondisplaced fracture at the mirl to distal Eeft fibular shaft. Continued foElow-up
recormie nde d.

Radiologist:                   Maurice Yu, ND
Study ready at 10:49 and initial results transmitted at 12:05




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E. REQUEST FOR RELIEF

    I believe that I am entitled to the following specific relief:




                                                                                                           ~~




                (Date)                                                  (Signature ofPlaintiff}




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